                   Case 4:08-cr-00207-WTM-JEG Document 42 Filed 11/19/19 Page 1 of 1
GASD Firsi Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(e)(l)U3)         Page 1 of!(Page 2 Not for Public Disclosure)

                                         United States District Court
                                                                         for the

                                                        Southern    District of   Georsia
                                                                Savannah Division


                      United States of America
                                    V.                                     )
                                                                           ) Case No:           4:08-cr-00207-l
                          Anthony Pridgen                                  )
                                                                           ) USMNo; 13728-021
Date of OriginalJudgment:          February 2, 2009                         ^
Date of Previous Amended Judgment: N/A                                      ^ John E. Suthers
(Use Date ofLast AmendedJuilgmeni ifAny)                                         Defendant's Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

          Upon motion of M the defendant D the Director of the Bureau of Prisons Q the court under 18 U.S.C.
§ 3582(c)(1)(B)for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 1 15-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §181.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is;
          S DENIED. □ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lasijudgineni issued) of    __           months is reduced to      _                                .
                             , (See Page 2 for additional pans. Complete Parts I and H ofPage 2 when motion is granted)

                CD




                 aZ
                a-




Except as otherwise provided, ail provisions of the judgment dated                        February 2,2009,          shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                          Judge s signutj^e


Effective Date:                                                       William T. Moore, Jr.
                                                                      Judge, U.S. District Court
                       (if different from order date)                                                Printed name and title
